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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS


                                      ORDER ON AMICUS BRIEFS1

         When I was practicing law, I often wondered why amicus briefs were generally not filed

at the district court level. It occurred to me back then that such briefs could have considerably

more impact at the district court level than they have at the circuit court level or even at the

Supreme Court. Since taking the bench, my views on the desirability of amicus briefing at the

district court level have only grown stronger. While the majority of cases on a district court’s

docket don’t warrant amicus briefing, there are a healthy number of cases each year that do.

         By way of example, and not limitation, each year a handful (or two) of cases on my docket

present really serious issues of constitutional law or statutory interpretation that are not directly

controlled by binding precedent. And I have found that, in these cases, the parties often do not

have the necessary time or economic resources to devote to full analyses of the text and history of

the provision or provisions at issue. In such cases, my judicial process and my decisions would

likely benefit from amicus briefing on the original public meaning of the disputed provision or

provisions. I can imagine amici providing, among other things, important historical context,

in-depth corpus linguistics analyses, or detailed structural arguments that might not make it into

the parties’ briefing.

         I recognize that amicus briefing is a costly and time-consuming endeavor. However, it is

also a great way for more junior attorneys at law firms, non-profits, corporations, and government

entities to gain valuable experience, make a good reputation for themselves, and get some oral

argument time. Accordingly, in addition to making it known that I invite and am grateful for


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 The Clerk is directed to enter this Order in every civil case currently pending before me. In future civil cases over
which I preside, this Order should be entered automatically in response to the filing of a complaint.
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amicus briefs in my cases, I wish to extend the following notice. Anyone who is the principal

drafter of an amicus brief on either a dispositive motion or a motion for preliminary relief in one

of my cases will be guaranteed at least ten (10) minutes of oral argument time so long as the person

has been a lawyer for fewer than seven (7) years. The parties in the case may not in any way fund

the amicus brief or the drafter’s attendance at oral argument.

       An amicus brief (attached as an exhibit to a motion for leave to file) must be submitted no

later than three (3) days after the filing of the principal brief by the party that the amicus brief

supports. If the amicus brief supports neither party, it must be submitted no later than three (3)

days after the filing of the principal brief by the party opposing the motion. An amicus brief must

be no more than twenty (20) pages, unless leave of the Court is obtained to exceed that number of

pages. As a general matter, the Court will look favorably upon a request by any party to respond

to an amicus brief in writing. And, of course, any party may respond to any amicus brief at oral

argument.

       IT IS SO ORDERED this 21st day of March 2023.



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                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE




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